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                            10UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 9:17-CV-80397 DIMITROULEAS
                                    Magistrate Judge Snow

   ROBERT WARSHAW,
         Plaintiff(s),
   vs.
   SCOTT J. WORTMAN AND
   KORTE & WORTMAN, P.A.,
         Defendants(s),
   ________________________________/


                        JOINT STIPULATION OF DISMISSAL WITH
                      PREJUDICE UNDER FED. R. CIV. P. 41(a)(1)(A)(ii)


          Pursuant to Rule 41(a)(1)(A)(ii), Fed.R.Civ.P., Plaintiff ROBERT WARSHAW and

   Defendants SCOTT J. WORTMAN and KORTE & WORTMAN, P.A., (collectively, the

   “Parties”), hereby stipulate and agree to the following:


   (1)    The Parties have settled all issues in this matter; and,

   (2)    This case, including the Rule 11 Motion for Sanctions, is dismissed with prejudice,

          each party to bear their own attorney’s fees and costs.




         CONSENT OF COUNSEL FOR DEFENDANTS SCOTT J. WORTMAN AND
                         KORTE & WORTMAN, P.A.

          Pursuant to Rule 3J (3) of the CM/ECF Administrative Procedures of the United States
   District Court for the Southern District of Florida, the undersigned counsel for the Plaintiff
   represents to the Court that counsel for Defendants Scott J. Wortman and Korte & Wortman,
   P.A., has authorized him to affix his/her/their electronic signatures to this Joint Stipulation for
   Dismissal With Prejudice.




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   Counsel for Plaintiff                          Counsel for Defendants Scott J. Wortman
   Robert Warshaw                                 and Korte & Wortman, P.A.

   /s/    John J.R. Skrandel                      /s/    Scott Wortman
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                                                /s/    John J.R. Skrandel, FL Bar #120413
                                                Jerome F. Skrandel, PL, Counsel for Plaintiff
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                                 CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk of
   the Court by using the CM/ECF system which will send a notice of electronic filing and a copy
   to the persons listed above on this 15th day of November, 2017:

   Sarah Gray, Esq, FL Bar #100246
   Korte & Wortman, P.A.
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   Counsel for Defendants Scott J. Wortman and Korte & Wortman, P.A.

                                                By     /s/ John J.R. Skrandel
                                                Florida Bar Number 120413




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